AO 245B      (Rev. 11/16) Judgment in a Criminal Case
             Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                            Middle District of Tennessee
                                                                         )
             UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                     )
                                                                         )
                       IVY C. STARKS                                     )      Case Number:  3:15-cr-00147-006
                                                                         )      USM Number:   24828-075
                                                                         )
                                                                         )      BENJAMIN H. PERRY
                                                                                 Defendant’s Attorney
THE DEFENDANT:
☒ pleaded guilty to count(s) 9
☐ pleaded nolo contendere to count(s)
    which was accepted by the court.
☐ was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                  Nature of Offense                                          Offense Ended      Count
18:1512(b)(3)                                    Tampering With a Witness                                   12/2014            9


       The defendant is sentenced as provided in pages 2 through               7           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
☐      The defendant has been found not guilty on count(s)

☐      Count(s)                                         ☐    is   ☐ are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      7/26/2017
                                                                      Date of Imposition of Judgment
                                                                      UNITED STATES DISTRICT JUDGE

                                                                      s/ Hugh Lawson
                                                                      Signature of Judge



                                                                      HUGH LAWSON, SENIOR U.S. DISTRICT JUDGE
                                                                      Name and Title of Judge


                                                                      08/16/2017
                                                                      Date




             Case 3:15-cr-00147                 Document 411          Filed 08/16/17              Page 1 of 7 PageID #: 1069
AO 245B     (Rev. 11/16) Judgment in Criminal Case
            Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2       of   7
DEFENDANT:                     IVY C. STARKS
CASE NUMBER:                   3:15-cr-00147-006



                                                                  IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:        30 months.




     ☐      The court makes the following recommendations to the Bureau of Prisons:




     ☒      The defendant is remanded to the custody of the United States Marshal.

     ☐      The defendant shall surrender to the United States Marshal for this district:

          ☐      at                                  ☐     a.m.     ☐ p.m.        on                                            .

          ☐      as notified by the United States Marshal.

     ☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐      before 2 p.m. on                                             .

          ☐      as notified by the United States Marshal.

          ☐      as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
I have executed this judgment as follows:


          Defendant delivered on                                                             to

at                                                       , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL



                                                                              By __________________________________________________
                                                                                                     DEPUTY UNITED STATES MARSHAL




              Case 3:15-cr-00147                     Document 411           Filed 08/16/17           Page 2 of 7 PageID #: 1070
AO 245B     (Rev. 11/16) Judgment in a Criminal Case
            Sheet 3 — Supervised Release
                                                                                                     Judgment—Page      3      of   7
 DEFENDANT:                   IVY C. STARKS
 CASE NUMBER:                 3:15-cr-00147-006

                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years.



                                                 MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
     release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.   ☐    You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.




              Case 3:15-cr-00147                  Document 411      Filed 08/16/17          Page 3 of 7 PageID #: 1071
AO 245B    (Rev. 11/16) Judgment in a Criminal Case
           Sheet 3A — Supervised Release
                                                                                                    Judgment—Page      4     of        7
 DEFENDANT:                  IVY C. STARKS
 CASE NUMBER:                3:15-cr-00147-006



                                     STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. I understand additional information regarding these conditions is
available at the www.uscourts.gov.

Defendant’s Signature                                                                            Date




             Case 3:15-cr-00147                  Document 411       Filed 08/16/17         Page 4 of 7 PageID #: 1072
 AO 245B    (Rev. 11/16) Judgment in a Criminal Case
            Sheet 3D — Supervised Release
                                                                                             Judgment—Page     5      of         7
 DEFENDANT:                 IVY C. STARKS
 CASE NUMBER:               3:15-cr-00147-006

                                          SPECIAL CONDITIONS OF SUPERVISION

You shall participate in a program of drug and alcohol testing and treatment. The U.S. Probation Office shall administratively
supervise your participation in the program by approving the program, administering the testing, and supervising the treatment.
You shall contribute to the costs of such treatment, and shall contribute to all or part of the costs of such treatment if the U.S.
Probation Office determines you have the ability to pay, and you shall cooperate in securing any applicable third-party payment,
such as insurance or Medicaid.

You shall participate in a mental health program as directed by the U.S. Probation Office. You shall contribute to the costs of
such treatment, and shall contribute to all or part of the costs of such treatment if the U.S. Probation Office determines you have
the ability to pay, and you shall cooperate in securing any applicable third-party payment, such as insurance or Medicaid.

You shall furnish all financial records, including, without limitation, earnings records and tax returns to the U.S. Probation
Office upon request.

You shall be prohibited from contact with Joshua Woods.




            Case 3:15-cr-00147                  Document 411   Filed 08/16/17        Page 5 of 7 PageID #: 1073
AO 245B     (Rev. 11/16) Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties

                                                                                                       Judgment — Page      6         of         7
 DEFENDANT:                         IVY C. STARKS
 CASE NUMBER:                       3:15-cr-00147-006

                                              CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                     Assessment                     JVTA                       Fine                          Restitution
                                                                 Assessment*
TOTALS                                                 $100.00                                                $0                               $0

☐ The determination of restitution is deferred until      An Amended Judgment in a Criminal Case (AO245C) will be entered
      after such determination.
☐     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C. §
          3664(i), all nonfederal victims must be paid before the United States is paid.


 Name of Payee                                     Total Loss*                     Restitution Ordered                     Priority or Percentage



 TOTALS                                $                    0                  $               0

☐ Restitution amount ordered pursuant to plea agreement $
☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      ☐ the interest requirement is waived for the          ☐ fine                               ☐ restitution
      ☐ the interest requirement for the                         ☐ fine                               ☐     restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September
13, 1994, but before April 23, 1996.




               Case 3:15-cr-00147                 Document 411            Filed 08/16/17           Page 6 of 7 PageID #: 1074
AO 245B      (Rev. 11/16) Judgment in a Criminal Case
             Sheet 6 — Schedule of Payments

                                                                                                              Judgment — Page         7       of        7
 DEFENDANT:                    IVY C. STARKS
 CASE NUMBER:                  3:15-cr-00147-006

                                                            SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☐ Lump sum payment of $                                   due immediately, balance due

             ☐     not later than                                  , or
             ☐     in accordance           ☐ C,         ☐    D   ☐    E, or ☐ F below; or

 B     ☒ Payment to begin immediately (may be combined with                     ☐ C,          ☐ D, or           ☒ F below); or
 C     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     ☒ Special instructions regarding the payment of criminal monetary penalties:
 Any criminal monetary penalty ordered by the court shall be due and payable in full immediately. Present and future Assets are subject to
 enforcement and may be included in the treasury offset program allowing qualified federal benefits to be applied to the balance of criminal
 monetary penalties.

 Payment during the term of supervised release will commence within 60 days after release from imprisonment. The court will set the
 payment plan based on an assessment of the defendant’s ability to pay at that time. (fine/restitution) payment shall be due during the period
 of imprisonment at the rate of not less than $25 per quarter and pursuant to the bureau of prisons’ financial responsibility program. The value
 of any future assets may be applied to offset the balance of criminal monetary penalties. The defendant may be included in the treasury
 offset program, allowing qualified benefits to be applied to offset the balance of any criminal monetary penalties.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐        Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.


 ☐        The defendant shall pay the cost of prosecution.

 ☐        The defendant shall pay the following court cost(s):

 ☐        The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.



               Case 3:15-cr-00147                  Document 411             Filed 08/16/17            Page 7 of 7 PageID #: 1075
